46 F.3d 1129
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.Zahir SHAH, Defendant Appellant.
    No. 94-6876.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  December 13, 1994Decided:  January 12, 1995.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  J. Frederick Motz, Chief District Judge.  (CR-88-146-JFM, CA-94-1386-JFM)
      Zahir Shah, Appellant Pro Se.  Katharine Jacobs Armentrout, Assistant United States Attorney, Baltimore, MD, for Appellee.
      D.Md.
      AFFIRMED.
      Before WIDENER and NIEMEYER, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Shah, Nos.  CR-88-146-JFM;  CA-94-1386-JFM (D. Md. July 15, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    